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                                            UNITED STATES DISTRICT COURT
                                           CENTRAL DISTRICT OF CALIFORNIA

                                                            CRIMINAL MINUTES - TRIAL


 Case No.          2:21-cr-00051(A)-RGK-1                                                                           Date          May 3, 2022

 Present: The Honorable          R. GARY KLAUSNER, U.S. District Judge

 Interpreter        n/a

            Joseph Remigio                                       Terri Hourigan                               Michael Morse/Juan Rodriguez/R. Pinkel
                Deputy Clerk                                Court Reporter/Recorder                                   Assistant U.S. Attorney



                 U.S.A. v. Defendant(s):                      Present Cust. Bond                    Attorneys for Defendants:            Present App. Ret.

Felix Cisneros, Jr.                                              X                X          George Mgdesyan                                  X              X



         Day COURT TRIAL                                        5th    Day JURY TRIAL                                          Death Penalty Phase

         One day trial;           Begun (1st day);                Held & continued;           X     Completed by jury verdict/submitted to court.

         The Jury is impaneled and sworn.

         Opening statements made

         Witnesses called, sworn and testified.

         Exhibits identified                                           Exhibits admitted
         Government rests.                                  Defendant(s)                                                                                rest.

         Motion for mistrial by                                                   is                granted                  denied               submitted

                  Motion for judgment of acquittal (FRCrP 29)                     is                granted                  denied               submitted

  X      Closing arguments made                X      Court instructs jury                     X       Bailiff sworn

  X      Clerk reviewed admitted           exhibits with counsel to be submitted to the Jury/Court for deliberations/findings.

  X      Alternates excused                X          Jury retires to deliberate                       Jury resumes deliberations

         Finding by Court as follows:                                             X        Jury Verdict as follows:        for Plaintiff/Govt.

 Dft #             X      Guilty on count(s)       1s-30s                                  Not Guilty on count(s)

  X      Jury polled                                                  Polling waived

  X      Filed Witness & Exhibit lists               X        Filed Jury notes         X     Filed Jury Instructions           X      Filed Jury Verdict

  X      Dft #       X      Referred to Probation Office for Investigation & Report and continued to                   8/1/22, 1:30pm         for sentencing.

  X      Dft #       X      remanded to custody.         X      Remand/Release#            5/3/22     issd.          Dft #            released from custody.

  X      Bond exonerated as to Dft #

         Case continued to                                                 for further trial/further jury deliberation.
         Other:
                                                                                                                             03           :       11
                                                                                       Initials of Deputy Clerk        jre



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